           Case 2:09-cr-02038-FVS                    ECF No. 276        filed 01/20/10   PageID.1008 Page 1 of 1
2 AO 245A (Rev. 12/03) Judgment of Acquittal


                                     UNITED STATES DISTRICT COURT
                         EASTERN                                DISTRICT OF                   WASHINGTON

          UNITED STATES OF AMERICA
                                                                           JUDGMENT OF ACQUITTAL
                              V.

                  JEANNE J. SMISKIN
                                                                           CASE NUMBER: CR-09-2038-FVS-3




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




 s/Fred Van Sickle
Signature of Judge

 Fred Van Sickle            Senior United States District Court Judge
Name of Judge                                  Title of Judge

                              1/20/2010
                                   Date
